 Case 09-10448           Doc 70     Filed 08/18/14       Entered 08/18/14 14:09:56     Page 1 of 13

                                 UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF LOUISIANA


  In re:                                             §      Case No. 09-10448
                                                     §
  CECIL J BIZETTE                                    §
  LORENDA BIZETTE                                    §
                                                     §
                      Debtor(s)                      §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Samera L. Abide, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $120,000.00                  Assets Exempt:       $31,300.00
(without deducting any secured claims)



Total Distributions to                                     Claims Discharged
Claimants:                        $59,777.47               Without Payment:     $95,556.44

Total Expenses of
Administration:                   $53,707.18


        3)      Total gross receipts of $113,484.65 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $113,484.65 from the
liquidation of the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010)
 Case 09-10448           Doc 70     Filed 08/18/14    Entered 08/18/14 14:09:56          Page 2 of 13


                                    CLAIMS            CLAIMS             CLAIMS             CLAIMS
                                  SCHEDULED          ASSERTED           ALLOWED              PAID
  Secured Claims
  (from Exhibit 3)                   $123,000.00       $12,967.30          $12,967.30        $12,967.30
  Priority Claims:
      Chapter 7 Admin.
      Fees and Charges                         NA      $53,707.18          $53,707.18        $53,707.18
       (from Exhibit 4)
      Prior Chapter Admin.
      Fees and Charges                         NA            $0.00              $0.00              $0.00
      (from Exhibit 5)
      Priority Unsecured
      Claims                            $1,800.00        $1,228.23              $0.00              $0.00
      (From Exhibit 6)
  General Unsecured
  Claims (from Exhibit 7)            $124,480.00       $76,238.53          $75,907.61        $46,810.17

    Total Disbursements              $249,280.00      $144,141.24        $142,582.09        $113,484.65

        4). This case was originally filed under chapter 7 on 04/03/2009. The case was pending
  for 64 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 08/13/2014                              By: /s/ Samera L. Abide
                                                        /Sa Trustee
                                                        mer
                                                        a L.
                                                        Abi
                                                        de

  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-TDR (10/1/2010)
 Case 09-10448           Doc 70      Filed 08/18/14        Entered 08/18/14 14:09:56              Page 3 of 13

                                                 EXHIBITS TO
                                                FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                        DESCRIPTION                                       UNIFORM                        AMOUNT
                                                                         TRAN. CODE                     RECEIVED
DEP REVERSE: MIDSOUTH BANK                                                1110-000                         ($449.37)
DEP REVERSE: OUR LADY OF THE LAKE REGIONAL                                1110-000                         ($604.45)
MEDICAL CENTER
MIDSOUTH BANK                                                             1110-000                           $449.37
OUR LADY OF THE LAKE REGIONAL MEDICAL CENTER                              1110-000                           $604.45
3 Firearms                                                                1129-000                           $150.00
Costume Jewelry                                                           1129-000                           $100.00
Feliciana Bank-Checking                                                   1129-000                         $1,095.42
Guaranty Bank & Trust-Checking                                            1129-000                         $1,002.21
Video Camera;2 VCR; Camera; Stereo; CD Player; 3 TV; DVD                  1129-000                           $200.00
Player
Guaranty Bank & Trust-Christmas Account                                   1229-000                           $600.00
Guaranty Bank & Trust-Savings                                             1229-000                            $41.58
NE Wages-His (Est)                                                        1229-000                           $292.08
Lawsuit: Car Accident                                                     1242-000                       $110,000.00
Interest Earned                                                           1270-000                                $3.36
TOTAL GROSS RECEIPTS                                                                                     $113,484.65

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
 NONE


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM            CLAIMANT         UNIFORM                CLAIMS             CLAIMS   CLAIMS               CLAIMS
NUMBER                            TRAN. CODE           SCHEDULED           ASSERTED ALLOWED                  PAID
              CLERK, U.S.            4210-001                    $0.00       $6,470.08      $6,470.08      $6,470.08
              BANKRUPTCY
              COURT
              Guaranty Bank          4110-000             $123,000.00            $0.00          $0.00             $0.00
              and Trust
              OUR LADY OF            4210-000                    $0.00       $6,497.22      $6,497.22      $6,497.22
              THE LAKE
              REGIONAL
              MEDICAL
              CENTER
TOTAL SECURED CLAIMS                                      $123,000.00       $12,967.30     $12,967.30     $12,967.30


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES



UST Form 101-7-TDR (10/1/2010)
 Case 09-10448           Doc 70     Filed 08/18/14   Entered 08/18/14 14:09:56             Page 4 of 13


         PAYEE             UNIFORM                CLAIMS   CLAIMS              CLAIMS              CLAIMS
                          TRAN. CODE           SCHEDULED ASSERTED            ALLOWED                 PAID
Samera L. Abide,             2100-000                  NA     $8,924.23            $8,924.23       $8,924.23
Trustee
Samera L. Abide,             2200-000                  NA         $311.49           $311.49         $311.49
Trustee
Bank of Texas                2600-000                  NA         $266.25           $266.25         $266.25
MCKERNAN LAW                 3210-000                  NA    $36,666.67           $36,666.67      $36,666.67
FIRM, Attorney for
Trustee
MCKERNAN LAW                 3220-000                  NA     $7,538.54            $7,538.54       $7,538.54
FIRM, Attorney for
Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                        NA    $53,707.18           $53,707.18      $53,707.18
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

 CLAIM           CLAIMANT          UNIFORM           CLAIMS          CLAIMS   CLAIMS               CLAIMS
NUMBER                            TRAN. CODE      SCHEDULED        ASSERTED ALLOWED                  PAID
     4        LOUISIANA             5800-000           $600.00         $683.25            $0.00        $0.00
              DEPT OF
              REVENUE &
              TAXATION
     7        INTERNAL              5800-000          $1,200.00        $544.98            $0.00        $0.00
              REVENUE
              SERVICE
TOTAL PRIORITY UNSECURED CLAIMS                       $1,800.00       $1,228.23           $0.00        $0.00


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM           CLAIMANT          UNIFORM           CLAIMS          CLAIMS   CLAIMS               CLAIMS
NUMBER                            TRAN. CODE      SCHEDULED        ASSERTED ALLOWED                  PAID
     1        FORD MOTOR            7100-000         $12,617.00      $17,477.73      $17,477.73   $10,778.05
              CREDIT CO.,
              LLC
     2        ROUNDUP               7100-000           $250.00         $250.50          $250.50     $154.48
              FUNDING, LLC
     3        DISCOVER              7100-000          $6,815.00       $8,645.52       $8,645.52    $5,331.46
              BANK
     4a       LOUISIANA             7100-000              $0.00        $170.15            $0.00        $0.00
              DEPT OF
              REVENUE &
              TAXATION
     5        CHASE BANK            7100-000          $6,302.00       $7,370.64       $7,370.64    $4,545.27
              USA, N.A.

UST Form 101-7-TDR (10/1/2010)
 Case 09-10448            Doc 70   Filed 08/18/14    Entered 08/18/14 14:09:56       Page 5 of 13


     6        CHASE BANK           7100-000               $0.00    $7,190.41    $7,190.41    $4,434.13
              USA, N.A.
     7a       INTERNAL             7100-000               $0.00     $160.77         $0.00        $0.00
              REVENUE
              SERVICE
     8        PYOD LLC its         7100-000           $1,007.00     $999.93      $999.93      $616.63
              successors and
              assigns
     9        PYOD LLC its         7100-000           $4,555.00    $5,377.37    $5,377.37    $3,316.08
              successors and
              assigns
     10       AMERICAN             7100-000          $23,767.00   $25,156.79   $25,156.79   $15,513.51
              EXPRESS
              BANK, FSB
     11       MIDLAND              7100-000               $0.00     $730.23      $730.23      $450.31
              FUNDING, LLC
     12       MIDLAND              7100-000           $1,034.00    $1,034.41    $1,034.41     $637.89
              FUNDING, LLC
     13       MIDLAND              7100-000           $1,674.00    $1,674.08    $1,674.08    $1,032.36
              FUNDING, LLC
              AlliedInterstate/    7100-000            $215.00         $0.00        $0.00        $0.00
              Direct TV
              Bank of America      7100-000           $2,000.00        $0.00        $0.00        $0.00
              CFC Deficiency       7100-000          $16,643.00        $0.00        $0.00        $0.00
              Recovery
              Chrysler             7100-000          $30,000.00        $0.00        $0.00        $0.00
              Financial
              Citibank             7100-000             $42.00         $0.00        $0.00        $0.00
              Dell                 7100-000            $300.00         $0.00        $0.00        $0.00
              GM Card              7100-000           $6,125.00        $0.00        $0.00        $0.00
              GMAC                 7100-000           $8,003.00        $0.00        $0.00        $0.00
              Home Depot           7100-000             $42.00         $0.00        $0.00        $0.00
              L&B Transport        7100-000           $2,451.00        $0.00        $0.00        $0.00
              Sam's                7100-000            $338.00         $0.00        $0.00        $0.00
              Club/MBGA
              Seventh Avenue       7100-000            $300.00         $0.00        $0.00        $0.00
TOTAL GENERAL UNSECURED CLAIMS                      $124,480.00   $76,238.53   $75,907.61   $46,810.17




UST Form 101-7-TDR (10/1/2010)
                                            Case 09-10448           Doc 70        Filed 08/18/14
                                                                                              FORM Entered
                                                                                                   1       08/18/14 14:09:56                                  Page 6 of 13
                                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                      Page No:     1                    Exhibit 8
                                                                                      ASSET CASES

Case No.:                       09-10448                                                                                                             Trustee Name:                             Samera L. Abide
Case Name:                      BIZETTE, CECIL J. AND BIZETTE, LORENDA                                                                               Date Filed (f) or Converted (c):          04/03/2009 (f)
For the Period Ending:          8/13/2014                                                                                                            §341(a) Meeting Date:                     05/05/2009
                                                                                                                                                     Claims Bar Date:                          10/26/2009

                                     1                                    2                                3                                 4                        5                                       6

                            Asset Description                           Petition/                   Estimated Net Value                   Property               Sales/Funds             Asset Fully Administered (FA)/
                             (Scheduled and                           Unscheduled                  (Value Determined by                   Abandoned              Received by            Gross Value of Remaining Assets
                        Unscheduled (u) Property)                        Value                            Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                  Less Liens, Exemptions,
                                                                                                     and Other Costs)

 Ref. #
1       8105 Raleigh Drive Ethel LA                                      $145,000.00                                        $0.00                                           $0.00                                         FA
2          Guaranty Bank & Trust-Checking                                        $0.00                               $1,002.21                                        $1,002.21                                           FA
3          Feliciana Bank-Checking                                               $0.00                               $1,095.42                                        $1,095.42                                           FA
4          Exempt HHGS                                                        $3,000.00                                     $0.00                                           $0.00                                         FA
5          Video Camera;2 VCR; Camera; Stereo; CD                              $200.00                                 $200.00                                            $200.00                                         FA
           Player; 3 TV; DVD Player
6          Clothing                                                           $1,300.00                                     $0.00                                           $0.00                                         FA
7          Wedding Rings                                                      $1,000.00                                     $0.00                                           $0.00                                         FA
8          Costume Jewelry                                                     $100.00                                 $100.00                                            $100.00                                         FA
9          3 Firearms                                                          $150.00                                 $150.00                                            $150.00                                         FA
10         Life Insurance                                                        $0.00                                      $0.00                                           $0.00                                         FA
11         Retirement                                                         Unknown                                       $0.00                                           $0.00                                         FA
12         C&L Bizette LLC                                                       $0.00                                      $0.00                                           $0.00                                         FA
           Reliable Hot Shot Trucking LLC
13         2001 Ford F150                                                     $1,000.00                                     $0.00                                           $0.00                                         FA
14         Guaranty Bank & Trust-Savings                      (u)                $0.00                                  $41.58                                             $41.58                                         FA
15         Guaranty Bank & Trust-Christmas Account            (u)                $0.00                                 $600.00                                            $600.00                                         FA
16         NE Wages-His (Est)                                 (u)                $0.00                                 $292.08                                            $292.08                                         FA
17         Lawsuit: Car Accident                              (u)             Unknown                              $110,000.00                                      $110,000.00                                           FA
INT        Interest Earned                                    (u)             Unknown                                Unknown                                                $3.36                                         FA


TOTALS (Excluding unknown value)                                                                                                                                                            Gross Value of Remaining Assets
                                                                          $151,750.00                              $113,481.29                                      $113,484.65                                       $0.00




    Initial Projected Date Of Final Report (TFR):    06/30/2011                           Current Projected Date Of Final Report (TFR):          03/31/2014               /s/ SAMERA L. ABIDE
                                                                                                                                                                          SAMERA L. ABIDE
                                                                                                                                                Page No: 1              Exhibit 9
                                           Case 09-10448       Doc 70      Filed 08/18/14 Entered
                                                                                       FORM 2     08/18/14 14:09:56        Page 7 of 13
                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         09-10448                                                                     Trustee Name:                       Samera L. Abide
 Case Name:                       BIZETTE, CECIL J. AND BIZETTE, LORENDA                                       Bank Name:                          Bank of Texas
Primary Taxpayer ID #:            **-***6075                                                                   Checking Acct #:                    ******0260
Co-Debtor Taxpayer ID #:          **-***6076                                                                   Account Title:                      DDA
For Period Beginning:             4/3/2009                                                                     Blanket bond (per case limit):      $31,229,046.00
For Period Ending:                8/13/2014                                                                    Separate bond (if applicable):

       1                2                           3                                               4                               5                  6                    7

   Transaction       Check /                      Paid to/                  Description of Transaction          Uniform           Deposit        Disbursement            Balance
      Date            Ref. #                   Received From                                                   Tran Code            $                 $


09/01/2011                     Sterling Bank                         Transfer Funds                             9999-000          $3,484.65                                     $3,484.65
10/17/2011                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.44         $3,479.21
11/15/2011                     Bank of Texas                         Account Analysis Fee                       2600-000                                      $11.24         $3,467.97
11/16/2011                     Bank of Texas                         Reverse Bank Service Fee                   2600-000                                      ($5.62)        $3,473.59
12/14/2011                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.43         $3,468.16
01/17/2012                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.60         $3,462.56
02/14/2012                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.58         $3,456.98
03/14/2012                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.21         $3,451.77
04/16/2012                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.56         $3,446.21
05/14/2012                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.37         $3,440.84
06/14/2012                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.54         $3,435.30
07/16/2012                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.35         $3,429.95
08/14/2012                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.52         $3,424.43
09/17/2012                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.52         $3,418.91
10/15/2012                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.33         $3,413.58
11/15/2012                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.50         $3,408.08
12/14/2012                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.31         $3,402.77
01/16/2013                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.48         $3,397.29
02/14/2013                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.49         $3,391.80
03/14/2013                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $4.95         $3,386.85
04/12/2013                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.47         $3,381.38
04/30/2013                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.28         $3,376.10
05/31/2013                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.44         $3,370.66
06/28/2013                     Bank of Texas                         Account Analysis Fee                       2600-000                                       $5.26         $3,365.40
07/31/2013                     Bank of Texas                         Account Analysis Fee                       2600-000                                      $10.00         $3,355.40
08/30/2013                     Bank of Texas                         Account Analysis Fee                       2600-000                                      $10.00         $3,345.40
09/30/2013                     Bank of Texas                         Account Analysis Fee                       2600-000                                      $10.00         $3,335.40
10/31/2013                     Bank of Texas                         Account Analysis Fee                       2600-000                                      $10.00         $3,325.40
                                                                                                               SUBTOTALS           $3,484.65                 $159.25
                                                                                                                                                                    Page No: 2             Exhibit 9
                                          Case 09-10448          Doc 70    Filed 08/18/14 Entered
                                                                                       FORM 2     08/18/14 14:09:56                            Page 8 of 13
                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         09-10448                                                                                         Trustee Name:                       Samera L. Abide
 Case Name:                       BIZETTE, CECIL J. AND BIZETTE, LORENDA                                                           Bank Name:                          Bank of Texas
Primary Taxpayer ID #:            **-***6075                                                                                       Checking Acct #:                    ******0260
Co-Debtor Taxpayer ID #:          **-***6076                                                                                       Account Title:                      DDA
For Period Beginning:             4/3/2009                                                                                         Blanket bond (per case limit):      $31,229,046.00
For Period Ending:                8/13/2014                                                                                        Separate bond (if applicable):

       1                2                             3                                             4                                                    5                 6                   7

   Transaction       Check /                        Paid to/                Description of Transaction                              Uniform           Deposit        Disbursement           Balance
      Date            Ref. #                     Received From                                                                     Tran Code            $                 $


11/29/2013                     Bank of Texas                         Account Analysis Fee                                           2600-000                                      $10.00        $3,315.40
12/05/2013                     MCKERNAN LAW FIRM, PLLC               SETTLEMENT FUNDS (DOC                                             *            $110,000.00                               $113,315.40
                      {17}                                                                                           $110,000.00    1242-000                                                  $113,315.40
12/16/2013                     DEP REVERSE: MIDSOUTH BANK            SHOULD HAVE BEEN A CHECK.                                      1110-000            ($449.37)                             $112,866.03
12/16/2013                     DEP REVERSE: OUR LADY OF THE          SHOULD HAVE BEEN A CHECK.                                      1110-000            ($604.45)                             $112,261.58
                               LAKE REGIONAL MEDICAL CENTER
12/20/2013                     MIDSOUTH BANK                         SECURED LIENS PER ORDER (DOC 58). SHOULD                       1110-000             $449.37                              $112,710.95
                                                                     HAVE BEEN A CHECK.
12/20/2013                     OUR LADY OF THE LAKE REGIONAL         SECURED LIENS PER ORDER (DOC 58). SHOULD                       1110-000             $604.45                              $113,315.40
                               MEDICAL CENTER                        HAVE BEEN A CHECK.
12/20/2013           5001      MCKERNAN LAW FIRM                     ATTORNEY FOR THE TRUSTEE FEES PER ORDER                        3210-000                               $36,666.67          $76,648.73
                                                                     (DOC 58) .
12/20/2013           5002      MCKERNAN LAW FIRM                     ATTORNEY FOR THE TRUSTEE EXPENSES PER                          3220-000                                   $5,533.54       $71,115.19
                                                                     ORDER (DOC 58) .
12/20/2013           5003      MCKERNAN LAW FIRM                     ATTORNEY FOR THE TRUSTEE EXPENSES PER                          3220-000                                   $2,005.00       $69,110.19
                                                                     ORDER (DOC 58).
12/20/2013           5004      EMS                                   SECURED LIENS PER ORDER (DOC 58)                               4210-000                                     $585.00       $68,525.19
12/20/2013           5005      HUMANA                                SECURED LIENS PER ORDER (DOC 58)                               4210-000                                   $4,858.40       $63,666.79
12/20/2013           5006      SEDGWICK CMS                          SECURED LIENS PER ORDER (DOC 58)                               4210-000                                   $6,470.08       $57,196.71
12/20/2013           5007      MIDSOUTH BANK                         SECURED LIENS PER ORDER (DOC 58)                               4210-000                                     $449.37       $56,747.34
12/20/2013           5008      OUR LADY OF THE LAKE REGIONAL         SECURED LIENS PER ORDER (DOC 58)                               4210-000                                     $604.45       $56,142.89
                               MEDICAL CENTER
12/31/2013                     Bank of Texas                         Account Analysis Fee                                           2600-000                                      $97.00       $56,045.89
04/01/2014           5006      STOP PAYMENT: SEDGWICK CMS            SECURED LIENS PER ORDER (DOC 58)                               4210-004                               ($6,470.08)         $62,515.97
04/03/2014           5009      CLERK, U.S. BANKRUPTCY COURT          DEPOSIT INTO TREASURY PER ORDER [D-62]                         4210-001                                   $6,470.08       $56,045.89
06/26/2014           5010      Samera L. Abide                       Trustee Compensation                                           2100-000                                   $8,924.23       $47,121.66
06/26/2014           5011      Samera L. Abide                       Trustee Expenses                                               2200-000                                     $311.49       $46,810.17
06/26/2014           5012      FORD MOTOR CREDIT CO., LLC            Account Number: ; Claim #: 1; Amount Claimed:                  7100-000                               $10,778.05          $36,032.12
                                                                     17,477.73; Amount Allowed: 17,477.73; Dividend: 19.23;

                                                                                                                                   SUBTOTALS          $110,000.00          $77,293.28
                                                                                                                                                                   Page No: 3             Exhibit 9
                                          Case 09-10448              Doc 70    Filed 08/18/14 Entered
                                                                                           FORM 2     08/18/14 14:09:56                       Page 9 of 13
                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         09-10448                                                                                        Trustee Name:                       Samera L. Abide
 Case Name:                       BIZETTE, CECIL J. AND BIZETTE, LORENDA                                                          Bank Name:                          Bank of Texas
Primary Taxpayer ID #:            **-***6075                                                                                      Checking Acct #:                    ******0260
Co-Debtor Taxpayer ID #:          **-***6076                                                                                      Account Title:                      DDA
For Period Beginning:             4/3/2009                                                                                        Blanket bond (per case limit):      $31,229,046.00
For Period Ending:                8/13/2014                                                                                       Separate bond (if applicable):

       1                2                                3                                              4                                              5                  6                   7

   Transaction       Check /                         Paid to/                   Description of Transaction                         Uniform           Deposit        Disbursement           Balance
      Date            Ref. #                      Received From                                                                   Tran Code            $                 $


06/26/2014           5013      ROUNDUP FUNDING, LLC                      Account Number: 6317; Claim #: 2; Amount Claimed:         7100-000                                     $154.48       $35,877.64
                                                                         250.50; Amount Allowed: 250.50; Dividend: 0.27;
06/26/2014           5014      DISCOVER BANK                             Account Number: 7566; Claim #: 3; Amount Claimed:         7100-000                                   $5,331.46       $30,546.18
                                                                         8,645.52; Amount Allowed: 8,645.52; Dividend: 9.51;
06/26/2014           5015      CHASE BANK USA, N.A.                      Account Number: 3607; Claim #: 5; Amount Claimed:         7100-000                                   $4,545.27       $26,000.91
                                                                         7,370.64; Amount Allowed: 7,370.64; Dividend: 8.10;
06/26/2014           5016      CHASE BANK USA, N.A.                      Account Number: 0678; Claim #: 6; Amount Claimed:         7100-000                                   $4,434.13       $21,566.78
                                                                         7,190.41; Amount Allowed: 7,190.41; Dividend: 7.91;
06/26/2014           5017      PYOD LLC its successors and assigns       Account Number: 2045; Claim #: 8; Amount Claimed:         7100-000                                     $616.63       $20,950.15
                                                                         999.93; Amount Allowed: 999.93; Dividend: 1.10;
06/26/2014           5018      PYOD LLC its successors and assigns       Account Number: 3926; Claim #: 9; Amount Claimed:         7100-000                                   $3,316.08       $17,634.07
                                                                         5,377.37; Amount Allowed: 5,377.37; Dividend: 5.91;
06/26/2014           5019      AMERICAN EXPRESS BANK, FSB                Account Number: 1005; Claim #: 10; Amount Claimed:        7100-000                               $15,513.51           $2,120.56
                                                                         25,156.79; Amount Allowed: 25,156.79; Dividend: 27.68;
06/26/2014           5020      MIDLAND FUNDING, LLC                      Account Number: 4779; Claim #: 11; Amount Claimed:        7100-000                                     $450.31        $1,670.25
                                                                         730.23; Amount Allowed: 730.23; Dividend: 0.80;
06/26/2014           5021      MIDLAND FUNDING, LLC                      Account Number: 7734; Claim #: 12; Amount Claimed:        7100-000                                     $637.89        $1,032.36
                                                                         1,034.41; Amount Allowed: 1,034.41; Dividend: 1.13;
06/26/2014           5022      MIDLAND FUNDING, LLC                      Account Number: 7958; Claim #: 13; Amount Claimed:        7100-000                                   $1,032.36               $0.00
                                                                         1,674.08; Amount Allowed: 1,674.08; Dividend: 1.84;




                                                                                                                                  SUBTOTALS                $0.00          $36,032.12
                                         Case 09-10448            Doc 70    Filed 08/18/14 Entered
                                                                                        FORM  2    08/18/14 14:09:56                             Page 10 of 13 Page No: 4                    Exhibit 9

                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          09-10448                                                                                           Trustee Name:                         Samera L. Abide
Case Name:                        BIZETTE, CECIL J. AND BIZETTE, LORENDA                                                             Bank Name:                            Bank of Texas
Primary Taxpayer ID #:            **-***6075                                                                                         Checking Acct #:                      ******0260
Co-Debtor Taxpayer ID #:          **-***6076                                                                                         Account Title:                        DDA
For Period Beginning:             4/3/2009                                                                                           Blanket bond (per case limit):        $31,229,046.00
For Period Ending:                8/13/2014                                                                                          Separate bond (if applicable):

      1                 2                                3                                            4                                                    5                   6                 7

  Transaction        Check /                         Paid to/                 Description of Transaction                              Uniform           Deposit          Disbursement         Balance
     Date             Ref. #                      Received From                                                                      Tran Code            $                   $


                                                                                        TOTALS:                                                         $113,484.65           $113,484.65                $0.00
                                                                                            Less: Bank transfers/CDs                                      $3,484.65                 $0.00
                                                                                        Subtotal                                                        $110,000.00           $113,484.65
                                                                                            Less: Payments to debtors                                         $0.00                 $0.00
                                                                                        Net                                                             $110,000.00           $113,484.65



                     For the period of 4/3/2009 to 8/13/2014                                                      For the entire history of the account between 09/01/2011 to 8/13/2014

                     Total Compensable Receipts:                       $110,000.00                                Total Compensable Receipts:                               $110,000.00
                     Total Non-Compensable Receipts:                         $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                     $110,000.00                                Total Comp/Non Comp Receipts:                             $110,000.00
                     Total Internal/Transfer Receipts:                   $3,484.65                                Total Internal/Transfer Receipts:                           $3,484.65


                     Total Compensable Disbursements:                  $113,484.65                                Total Compensable Disbursements:                          $113,484.65
                     Total Non-Compensable Disbursements:                    $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                $113,484.65                                Total Comp/Non Comp Disbursements:                        $113,484.65
                     Total Internal/Transfer Disbursements:                  $0.00                                Total Internal/Transfer Disbursements:                          $0.00
                                          Case 09-10448        Doc 70      Filed 08/18/14 Entered
                                                                                       FORM  2    08/18/14 14:09:56              Page 11 of 13 Page No: 5                 Exhibit 9

                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         09-10448                                                                           Trustee Name:                      Samera L. Abide
 Case Name:                       BIZETTE, CECIL J. AND BIZETTE, LORENDA                                             Bank Name:                         Sterling Bank
Primary Taxpayer ID #:            **-***6075                                                                         Money Market Acct #:              ******0448
Co-Debtor Taxpayer ID #:          **-***6076                                                                         Account Title:
For Period Beginning:             4/3/2009                                                                           Blanket bond (per case limit):     $31,229,046.00
For Period Ending:                8/13/2014                                                                          Separate bond (if applicable):

       1                2                           3                                                4                                    5                6                  7

   Transaction       Check /                      Paid to/                  Description of Transaction                Uniform          Deposit        Disbursement         Balance
      Date            Ref. #                   Received From                                                         Tran Code           $                 $


08/27/2009                     DEBTORS                               PAYMENT ON ACCOUNT                                  *                $500.00                                  $500.00
                      {8}                                                                                 $100.00     1129-000                                                     $500.00
                      {9}                                                                                 $150.00     1129-000                                                     $500.00
                      {14}                                                                                 $41.58     1229-000                                                     $500.00
                      {16}                                                                                $208.42     1229-000                                                     $500.00
09/25/2009                     DEBTORS                               PAYMENT ON ACCOUNT                                  *              $2,981.29                                 $3,481.29
                      {2}                                                                                $1,002.21    1129-000                                                    $3,481.29
                      {3}                                                                                $1,095.42    1129-000                                                    $3,481.29
                      {5}                                                                                 $200.00     1129-000                                                    $3,481.29
                      {15}                                                                                $600.00     1229-000                                                    $3,481.29
                      {16}                                                                                 $83.66     1229-000                                                    $3,481.29
09/30/2009           (INT)     Sterling Bank                         Interest Earned For September                    1270-000                $0.02                               $3,481.31
10/30/2009           (INT)     Sterling Bank                         Interest Earned For October                      1270-000                $0.15                               $3,481.46
11/30/2009           (INT)     Sterling Bank                         Interest Earned For November                     1270-000                $0.14                               $3,481.60
12/31/2009           (INT)     Sterling Bank                         Interest Earned For December                     1270-000                $0.15                               $3,481.75
01/29/2010           (INT)     Sterling Bank                         Interest Earned For January                      1270-000                $0.15                               $3,481.90
02/26/2010           (INT)     Sterling Bank                         Interest Earned For February                     1270-000                $0.13                               $3,482.03
03/31/2010           (INT)     Sterling Bank                         Interest Earned For March                        1270-000                $0.15                               $3,482.18
04/30/2010           (INT)     Sterling Bank                         Interest Earned For April                        1270-000                $0.14                               $3,482.32
05/28/2010           (INT)     Sterling Bank                         Interest Earned For May                          1270-000                $0.15                               $3,482.47
06/30/2010           (INT)     Sterling Bank                         Interest Earned For June                         1270-000                $0.14                               $3,482.61
07/30/2010           (INT)     Sterling Bank                         Interest Earned For July                         1270-000                $0.15                               $3,482.76
08/31/2010           (INT)     Sterling Bank                         Interest Earned For August                       1270-000                $0.15                               $3,482.91
09/30/2010           (INT)     Sterling Bank                         Interest Earned For September                    1270-000                $0.14                               $3,483.05
10/29/2010           (INT)     Sterling Bank                         Interest Earned For October                      1270-000                $0.15                               $3,483.20
11/30/2010           (INT)     Sterling Bank                         Interest Earned For November                     1270-000                $0.14                               $3,483.34
12/31/2010           (INT)     Sterling Bank                         Interest Earned For December                     1270-000                $0.15                               $3,483.49
01/31/2011           (INT)     Sterling Bank                         Interest Earned For January                      1270-000                $0.15                               $3,483.64
02/28/2011           (INT)     Sterling Bank                         Interest Earned For February                     1270-000                $0.13                               $3,483.77
                                                                                                                     SUBTOTALS           $3,483.77              $0.00
                                          Case 09-10448           Doc 70      Filed 08/18/14 Entered
                                                                                          FORM  2    08/18/14 14:09:56                             Page 12 of 13 Page No: 6                      Exhibit 9

                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         09-10448                                                                                             Trustee Name:                         Samera L. Abide
 Case Name:                       BIZETTE, CECIL J. AND BIZETTE, LORENDA                                                               Bank Name:                            Sterling Bank
Primary Taxpayer ID #:            **-***6075                                                                                           Money Market Acct #:                  ******0448
Co-Debtor Taxpayer ID #:          **-***6076                                                                                           Account Title:
For Period Beginning:             4/3/2009                                                                                             Blanket bond (per case limit):        $31,229,046.00
For Period Ending:                8/13/2014                                                                                            Separate bond (if applicable):

       1                2                                3                                              4                                                     5                  6                   7

   Transaction       Check /                         Paid to/                   Description of Transaction                              Uniform           Deposit          Disbursement           Balance
      Date            Ref. #                      Received From                                                                        Tran Code            $                   $


03/31/2011           (INT)     Sterling Bank                           Interest Earned For March                                        1270-000                  $0.15                                  $3,483.92
04/29/2011           (INT)     Sterling Bank                           Interest Earned For April                                        1270-000                  $0.14                                  $3,484.06
05/31/2011           (INT)     Sterling Bank                           Interest Earned For May                                          1270-000                  $0.15                                  $3,484.21
06/30/2011           (INT)     Sterling Bank                           Interest Earned For June                                         1270-000                  $0.14                                  $3,484.35
07/29/2011           (INT)     Sterling Bank                           Interest Earned For July                                         1270-000                  $0.15                                  $3,484.50
08/31/2011           (INT)     Sterling Bank                           Interest Earned For August                                       1270-000                  $0.15                                  $3,484.65
09/01/2011                     Bank of Texas                           Transfer Funds                                                   9999-000                                     $3,484.65               $0.00

                                                                                          TOTALS:                                                            $3,484.65               $3,484.65               $0.00
                                                                                              Less: Bank transfers/CDs                                           $0.00               $3,484.65
                                                                                          Subtotal                                                           $3,484.65                   $0.00
                                                                                              Less: Payments to debtors                                          $0.00                   $0.00
                                                                                          Net                                                                $3,484.65                   $0.00



                     For the period of 4/3/2009 to 8/13/2014                                                        For the entire history of the account between 08/27/2009 to 8/13/2014

                     Total Compensable Receipts:                           $3,484.65                                Total Compensable Receipts:                                 $3,484.65
                     Total Non-Compensable Receipts:                           $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                         $3,484.65                                Total Comp/Non Comp Receipts:                               $3,484.65
                     Total Internal/Transfer Receipts:                         $0.00                                Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                          $0.00                                Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:                      $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                        $0.00                                Total Comp/Non Comp Disbursements:                              $0.00
                     Total Internal/Transfer Disbursements:                $3,484.65                                Total Internal/Transfer Disbursements:                      $3,484.65
                                         Case 09-10448            Doc 70   Filed 08/18/14 Entered
                                                                                       FORM  2    08/18/14 14:09:56                       Page 13 of 13 Page No: 7                    Exhibit 9

                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         09-10448                                                                                     Trustee Name:                         Samera L. Abide
Case Name:                       BIZETTE, CECIL J. AND BIZETTE, LORENDA                                                       Bank Name:                            Sterling Bank
Primary Taxpayer ID #:           **-***6075                                                                                   Money Market Acct #:                  ******0448
Co-Debtor Taxpayer ID #:         **-***6076                                                                                   Account Title:
For Period Beginning:            4/3/2009                                                                                     Blanket bond (per case limit):        $31,229,046.00
For Period Ending:               8/13/2014                                                                                    Separate bond (if applicable):

      1                 2                                3                                            4                                             5                   6                 7

  Transaction        Check /                         Paid to/                 Description of Transaction                       Uniform          Deposit           Disbursement         Balance
     Date             Ref. #                      Received From                                                               Tran Code           $                    $




                                                                                                                                                                            NET           ACCOUNT
                                                                                        TOTAL - ALL ACCOUNTS                           NET DEPOSITS                    DISBURSE          BALANCES

                                                                                                                                               $113,484.65           $113,484.65                  $0.00




                     For the period of 4/3/2009 to 8/13/2014                                               For the entire history of the case between 04/03/2009 to 8/13/2014

                     Total Compensable Receipts:                       $113,484.65                         Total Compensable Receipts:                               $113,484.65
                     Total Non-Compensable Receipts:                         $0.00                         Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                     $113,484.65                         Total Comp/Non Comp Receipts:                             $113,484.65
                     Total Internal/Transfer Receipts:                   $3,484.65                         Total Internal/Transfer Receipts:                           $3,484.65


                     Total Compensable Disbursements:                  $113,484.65                         Total Compensable Disbursements:                          $113,484.65
                     Total Non-Compensable Disbursements:                    $0.00                         Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                $113,484.65                         Total Comp/Non Comp Disbursements:                        $113,484.65
                     Total Internal/Transfer Disbursements:              $3,484.65                         Total Internal/Transfer Disbursements:                      $3,484.65
